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5
                       UNITED STATES DISTRICT COURT
6                     WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE
7
     KRISTAL BOX ROBISON,                         CASE NO. 2:23-cv-216
8
                         Plaintiff,               ORDER GRANTING STIPULATED
9                                                 MOTION TO CONTINUE TRIAL
            v.                                    DATE AND PRE-TRIAL DEADLINES
10
     ALLSTATE FIRE AND CASUALTY
11
     INSURANCE COMPANY,
12
                         Defendant.
13

14         Before the Court is the Parties’ Stipulated Motion to Continue Trial Date and

15   Pre-Trial Deadlines, Dkt. No. 50. Having considered the Stipulated Motion and the

16   record, the Court finds good cause to extend the deadlines. Accordingly, the Court

17   GRANTS the Stipulated Motion, Dkt. No. 50. In addition, the Court sets a deadline

18   of July 7, 2025, for the Parties’ Proposed Voir Dire Questions and Proposed Jury

19   Instructions. The new deadlines are below.

20         The Court notes that this is the Parties’ second extension—with the first

21   extension requested seven months ago. Dkt. No. 40. The Court is unlikely to extend

22   the deadlines again, absent truly exigent circumstances.

23

     ORDER GRANTING stipulated MOTION TO CONTINUE TRIAL DATE AND PRE-TRIAL
     DEADLINES - 1
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1                             EVENT                      OLD DEADLINE          NEW DEADLINE
                                                                                (STIPULATED)
2
        Deadline for filing amended pleadings            September 20, 2024    December 20, 2024
3
        Disclosure for expert testimony under Fed. R.    September 20, 2024    December 20, 2024
        Civ. P 26(a)(2)
4
        Disclosure of rebuttal expert testimony under    30 days after other   30 days after other
5
        Fed. R. Civ. P 26(a)(2)                          party’s disclosure    party’s disclosure
6       All motions related to discovery by               October 17, 2024      January 14, 2025
7       Discovery completed by                            October 25, 2024      January 24, 2025

8       All dispositive motions and Daubert motions      December 19, 2024      March 21, 2025
        must be filed by (see LCR 7(d))
9
        Settlement conference per LCR 39.1, if           February 14, 2025       May 16, 2025
10      requested by the parties, held no later than

11      Motions in Limine                                  March 6, 2025          June 6, 2025

12      Deposition Designations submitted to Court        March 26, 2025         June 26, 2025

13      Agreed Pretrial Order due                         March 26, 2025         June 26, 2025

14      Trial Briefs by                                     April 3, 2025         July 3, 2025

15      Proposed Voir Dire Questions submitted to                                 July 7, 2025
        Court
16
        Proposed Jury Instructions submitted to Court                             July 7, 2025
17
        Pretrial conference                                 April 7, 2025        July 14, 2025
18      Bench Trial                                        April 14, 2025        July 21, 2025
19

20         Dated this 26th day of July, 2024.

21                                                      A
22                                                      Jamal N. Whitehead
                                                        United States District Judge
23

     ORDER GRANTING stipulated MOTION TO CONTINUE TRIAL DATE AND PRE-TRIAL
     DEADLINES - 2
